Case 2:Ol-Cr-20312-.]WIMWT§§ZDE+§§MOQ{@§R-Page 1 of 2 Page|D 156 k
FOR THE
wEsTERN DISTRICT oF TENNESSEE F.l£=.c) af__££é:_;o.c.
wESTERN DIVISION

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cR No. 01-20312-31£ W,DGHI ,,_ w

   
  

UNITED STATES OF AMERICA,

vs-

TEDDY NULL,

APPLICATIONl ORDER and WRIT FOR HABEAS CORPUS AD PROSEQUENDUM

LAWRENCE J. LAURENZI, Assistant United Stat¢s Attorney. applies to the
Court for a Writ to have TEDDY N'ULL, State# 39458. DOB 2/06/65, SSN# 587-21-'7519,
now being detained in the Carroll County Correctional Facility, vaiden,
Mississippi, appear before the Honorable Jon Phipps McCalla on Friday, August 19,
2005, at 9:30 a.m. for a re-sentencing hearing and for such other appearances as
this Court may direct.

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Respectfully submitted this day of August, 2005.

pé.wk.?€¢-. £~»“.B,thf/EM

LAWRENCE .:r. %tmanz:
Ass:s'rm UNITED s'rA'rEs ATTORNEY

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Upon consideration of the foregoing Application. DAVID G. JOLLEY, U.S.
MARSHAL, WISTERN DISTRICT OF TENNESSEE, MEMPHIS, TN, SHERIFF/WARDEN, CARROLL
COUNTY CORRECTIONAL FACILITY, VRIDEN, MISSISSIPPI.

YOU ARE l-IEREBY COMHANDED to have TEDDY N'ULL appear before the Honorable Jon
Phipps McCalla at the date and time aforementioned.

ENTERED this 0 day of August, 2005.

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arm TL,M .P|,Lq,“_

UNITED STATES MAGIBTRATE JUDGE

Thls document entered on the docket sheet tn compliance
with ama 53 and/or 32(3) FRCrP on J"J"O\S

 

   

UNITED `sETATS DISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 122 in
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Honorable J on McCalla
US DISTRICT COURT

